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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      CRIMINAL NO. 1:21-MJ-229-ZMF
                                             :
ZACHARY WILSON,                              :
                                             :
                      Defendant.             :


                                     NOTICE OF FILING

       The Government requests that the attached discovery letter, dated May 19, 2021, be made

part of the record in the above-captioned case.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             ACTING UNITED STATES ATTORNEY


                                             ________________________________
                                             JACOB J. STRAIN
                                             Utah Bar No. 12680
                                             Assistant United States Attorney
                                             U.S. Attorney’s Office for the District of Columbia
                                             555 4th Street, N.W.
                                             Washington, D.C. 20530
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                                                  U.S. Department of Justice

                                                  CHANNING D. PHILLIPS
                                                  Acting United States Attorney
                                                  District of Utah


                                                     Judiciary Center
                                                     555 Fourth St. N.W.
                                                     Washington, D.C. 20530


                                          May 19, 2021
Discovery Letter #2

Joanne Slaight, Attorney at Law
400 7th St, NW, Suite 206
Washington, DC 20004

       RE:      U.S. v. Zachary Wilson (1:21-MJ-229-ZMF)

Dear Counsel,

        Pursuant to our discovery obligations, we have provided the following files via USAfx on
May 19, 2021. Note that many of these files and their related physical attachments are
currently being formally processed for discovery by the discovery team assigned to the Capitol
Riots cases. As such, some of the same files will be re-produced with bates-stamps at a later date.

BWC Video (folder)
     Zach Wilson Body Cam Footage.jpg
     Zachary_Wilson-2.mp4
     Zachary_Wilson-3.mp4
     Zachary_Wilson-4.mp4
     Zachary_Wilson.mp4
CCTV Video (folder)
     0102 USCS 01 Senate Wing Door near S139-2021-01-06_14h24min00s000ms.mp4
     0153 USCH 01 House Wing Door-2021-01-06_14h42min00s000ms.mp4
     0171 USCH 01 Memorial Door-2021-01-06_14h29min00s000ms.mp4
     0176 USCH 01 South Door-2021-01-06_14h43min00s000ms.mp4
     0263 USCH 02 H227 Hallway (1_6_2021 2_32_49 PM EST).png
     0263 USCH 02 H227 Hallway (1_6_2021 2_32_53 PM EST).png
     0263 USCH 02 H227 Hallway-2021-01-06_14h32min32s000ms.mp4
     0402 USCH 01 Crypt North-2021-01-06_14h28min00s000ms.mp4
     0402 USCH 01 Crypt North-2021-01-06_14h42min00s000ms.mp4
     0403 USCH 01 Crypt South-2021-01-06_14h42min00s000ms.mp4
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       0935 USCH 02 H230-2021-01-06_14h34min15s000ms.mp4

       We recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. We will continue provide timely disclosure if any such
material comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, we will provide
information about government witnesses prior to trial and in compliance with the court’s trial
management order.

        We request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. We also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). We
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, we
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions. We will forward additional discovery as it becomes available. If you have any
questions, please feel free to contact us.


                                              By: /s/ Jacob J. Strain
                                              JACOB J. STRAIN
                                              Assistant United States Attorney
